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   8                              UNITED STATES DISTRICT COURT
   9                             CENTRAL DISTRICT OF CALIFORNIA
  10
          NICKY RIVERA, BALMORE                                     Case No. 2:18-cv-01469-AB-RAO
  11      PRUDENCIO, AND MICHELLE
          QUINTERO, individually on behalf of
  12
          themselves and all others similarly                       Assigned to: Hon. André Birotte, Jr.
  13      situated, and John Does (1-100) on
          behalf of themselves and all others
  14
          similarly situated,                                       Memorandum of Law in Opposition
  15                                                                to Defendant Midway Importing,
                            Plaintiffs,                             Inc.’s Motion to Dismiss Plaintiffs’
  16
                                                                    First Amended Complaint
  17
                            v.
  18
                                                                    Date:            July 6, 2018
  19      Midway Importing, Inc.,
                                                                    Time:            10:00 AM
  20
                                                                    Ctrm:            7B
                            Defendant.
  21

  22                                                                Complaint Filed: February 22, 2018
  23

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    1      I.       INTRODUCTION
    2           Defendant Midway Importing, Inc. markets a line of soap that is described
    3 prominently as “Natural Soap” on the front of the packaging. But the soap is not

    4 “natural.” It contains titanium dioxide, sodium lauryl sulfate, and calcium

    5 carbonate. These ingredients are chemicals which no reasonable consumer would

    6 consider “natural.”

    7           Plaintiffs are California and New York purchasers of the soap and allege that
    8 they relied on and were misled by the “Natural” representation when they bought

    9 the soap. Plaintiffs assert claims under the consumer protection laws of their home

   10 states, California and New York, and seek to represent a national class of

   11 consumers.

   12           Defendant Midway throws the kitchen sink at the complaint in an effort to
   13 have Plaintiffs’ claims dismissed. Defendant offers arguments on subject matter

   14 jurisdiction, class standing, specific personal jurisdiction, failure to state a claim

   15 under consumer protection laws, and also asks for a stay based on primary

   16 jurisdiction. For the reasons below, these arguments fail.

   17    II. ARGUMENT
   18                    A.    Standing and Jurisdiction
   19            Midway argues that Plaintiffs cannot assert claims on behalf of consumers
   20 of other states nor for nearly identical products that they did not purchase. Most

   21 courts address these issues at the class certification stage under Rule 23 and not as

   22 Article III standing issues. This Court should do the same. Midway also argues that

   23 Plaintiffs lack standing to seek injunctive relief. However, the Ninth Circuit

   24 squarely addressed this issue recently and decided it in favor of Plaintiffs’ position.

   25 Midway then attacks this Court’s specific personal jurisdiction over it with respect to

   26 the claims of consumers outside California. The U.S. Supreme recently addressed
   27

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    1 this issue in the context of mass torts in state court, but did not change the law on

    2 personal jurisdiction as it applies here. These arguments will be addressed in turn.

    3                  1.      Plaintiffs Have Standing to Sue for Products They Did Not
    4                  Purchase Because the Misrepresentations At Issue Are Identical
    5         There is no question that Plaintiffs have Article III standing to assert claims
    6 concerning the alleged misrepresentations on the specific products they purchased

    7 themselves. The question raised by Defendant’s 12(b)(1) motion is whether Plaintiffs

    8 have standing to assert claims on behalf of the purchasers of the two other Midway

    9 products bearing identical misrepresentations. Def. Mem. at 6. The answer is yes.

   10         Plaintiffs purchased the “Aloe Vera” and “Mother of Pearl” varieties of soap,
   11 not the “Oat” or “Donkey’s Milk” varieties. FAC at ¶¶ 8-13. All four types claim to

   12 be “Natural soap” and display the “Natural soap” representation prominently on the

   13 top right of each package. FAC ¶ 18 (pictures of packaging).

   14         Midway contends that Plaintiffs lack Article III standing to represent
   15 purchasers of the “Donkey’s Milk” and “Oat” soap. Def. Mem. at 6. But most courts

   16 have either found Article III standing where the products and claims at issue were

   17 “substantially similar,” or analyzed this question under the requirements of Rule 23(a)

   18 at the class certification stage rather than as an Article III standing issue. See Coleman
   19 Anacleto v. Samsung Elecs. Am., Inc., No. 16-civ-02941, 2016 U.S. Dist. LEXIS

   20 123455, at *26 (N.D. Cal. Sept. 12, 2016) (noting “[t]he majority of the courts in this

   21 district and elsewhere in California reject the proposition that a plaintiff cannot suffer

   22 injury in fact based on products that the plaintiff did not buy.”); Dorfman v. Nutramax

   23 Labs., Inc., No. 13-civ-0873, 2013 U.S. Dist. LEXIS 136949 at *17-20 (S.D. Cal.

   24 Sept. 23, 2013) (surveying cases); Cardenas v. NBTY, Inc., 870 F. Supp. 2d 984, 992

   25 (C.D. Cal. 2012) (question of whether plaintiff could represent purchasers of seven

   26 other products solely a Rule 23 question); Bautista v. Cytosport, Inc., 223 F. Supp. 3d
   27 182, 188 (S.D.N.Y. 2016) (“[S]ubject to further inquiry at the class certification stage,

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    1 a named plaintiff has standing to bring class action claims under state consumer laws

    2 protection for products that he did not purchase, so long as those products, and the

    3 false and deceptive manner in which they were marketed, are sufficiently similar to

    4 the products that the named plaintiff did purchase.”); Quinn v. Walgreen Co., 958 F.

    5 Supp. 2d 553, 541 (S.D.N.Y. 2013) ("The majority of the courts that have carefully

    6 analyzed the question hold that [standing exists] so long as the products and alleged

    7 misrepresentations are substantially similar.”).

    8        Accordingly, most courts have found standing with respect to unpurchased
    9 products (sometimes referred to as “class standing”) even where the representations

   10 were more diverse than the identical “Natural soap” statements at issue here: see

   11 Hunter v. Nature’s Way Products, LLC, No. 16-civ-532, 2016 U.S. Dist. LEXIS

   12 107092 at *41-43 (S.D. Cal. Aug. 6, 2016) (holding plaintiff could challenge

   13 unpurchased liquid coconut oil because the representations on the label, while

   14 different from those on the purchased product, conveyed a substantially similar

   15 message that the product was healthy); Dorfman at *21-22 (plaintiff has standing to

   16 pursue claims for supplements he did not buy because he “challenges the same type

   17 of supplements based on largely the same ingredients and representations.”); Chavez

   18 v. Blue Sky Natural Beverage Co., 268 F.R.D. 365, 378 (N.D. Cal. 2010) (plaintiff's
   19 claims are typical of the class where the allegedly false statement was "worded in

   20 several variations" but all products "bore substantially the same misrepresentation").

   21        The cases Midway cites in support of its argument involve products which were
   22 very different or made different misrepresentations from the products the plaintiff

   23 actually purchased. Def. Mem. At 7. For example, in Johns v. Bayer Corp., No.09-

   24 cv-1935, 2010 U.S. LEXIS 10926 (S.D. Cal. Feb 9, 2010) the court held plaintiff

   25 lacked standing to assert claims on behalf of purchasers of a health supplement

   26 because the misrepresentation that the plaintiff relied on was not present on the
   27 unpurchased product. Plaintiffs’ case is not Johns. See, e.g. Ruszecki v. Nelson Bach

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    1 USA LTD., No. 12-cv-495, 2015 U.S. Dist. LEXIS 151946, * 7 (S.D. Cal. June 25,

    2 2015) (holding that plaintiff had standing to pursue claims regarding products she did

    3 not purchase because “unlike the plaintiff in Johns, [plaintiff]'s alleged injuries

    4 resulted from [defendant]'s stress relief advertising campaign that was employed on

    5 the unpurchased products as well those she purchased.”); Dabish v. Brand New

    6 Energy, LLC, No. 16-cv-400-BAS(NLS), 2016 U.S. Dist. LEXIS 167783, at *6-7

    7 (S.D. Cal. Nov. 23, 2016) (specifically declining to follow Johns and its progeny and

    8 finding standing where plaintiff challenged eight dietary supplements with different

    9 illegal adulterants based on the same misrepresentation by omission that they

   10 contained only legal ingredients).

   11        Similarly, in Carrea v. Dreyer's Grand Ice Cream, Inc., No. C 10-01044 JSW,
   12 2011 U.S. Dist. LEXIS 6371 (N.D. Cal. Jan. 10, 2011), Def. Mem. at 7, the plaintiff

   13 challenged two different ice-cream products with two different representations: one

   14 claiming that the product was "The Original" and "Classic;" and the other claiming

   15 that the product had “0 g Trans Fat.” Again, Plaintiffs’ case is different. See, e.g.,

   16 Hendricks v. StarKist Co., 30 F. Supp. 3d 917, 935 (N.D. Cal. 2014) (distinguishing

   17 Correa and concluding that plaintiff had standing to pursue claims against a variety

   18 of types of canned tuna because the misrepresentations regarding the amount of tuna
   19 in the cans was similar across the purchased and unpurchased products).

   20        In Miller v. Ghirardelli Chocolate Co., 912 F. Supp. 2d 861, 870-72(N.D. Cal.
   21 2012), the court acknowledged “a plaintiff may have standing to assert claims for

   22 unnamed class members based on products he or she did not purchase so long as the

   23 products and alleged misrepresentations are substantially similar” but found that

   24 white chocolate and chocolate chips were different products and were labeled

   25 differently. In Dysthe v. Basic Reasearch, LLC, No. CV 09-8013, 2011 U.S. Dist.

   26 LEXIS 138028 (C.D. Cal. June 13, 2011) the weight loss supplements at issue had
   27 different formulations and touted different benefits. Finally, in Kane v. Chobani, Inc.,

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    1 No.: 12-CV-02425, 2013 U.S. Dist. LEXIS 134385, *37-38 (N.D. Cal. Sept. 19,

    2 2013) the court held that the plaintiffs did not have standing as to unpurchased

    3 products because the plaintiff failed to allege “substantial similarity.” As a court in

    4 the Northern District of California later noted, the Kane court “did not hold that the

    5 different yogurt products were not substantially similar. Rather, the court found that

    6 plaintiffs' complaint contained insufficient information for it "to discern . . . which

    7 products [p]laintiffs are contending contained each representation and for which

    8 products these representations were false." Swearingen v. Late July Snacks LLC, 2017

    9 U.S. Dist. LEXIS 170928, *16 (N.D. Cal. Oct. 16, 2016) (plaintiffs had standing to

   10 challenge unpurchased Multigrain Snack Chips because although the non-purchased

   11 products were different flavors, the products contained the same "evaporated cane

   12 juice" misrepresentation).

   13        Here, in contrast to the cases cited by Midway, each of the challenged Products
   14 are hand soap products which have the identical “Natural Soap” representation. Thus,

   15 because the “natural” representations on both the purchased and unpurchased

   16 products are identical, Plaintiffs have standing to assert claims with respect to each of

   17 the challenged Products.

   18                 2.      Whether Plaintiffs May Represent Out-Of-State Residents is
   19                 an Issue for Class Certification
   20        Defendant next argues that Plaintiffs lack standing to represent consumers in
   21 other states. Def. Mem. at 10-11. In making this argument, Defendant conflates two

   22 entirely distinct concepts: Article III standing and the requirements of Rule 23.

   23        The Ninth Circuit, in the context of factual differences, recently clarified the
   24 distinction: “Once the named plaintiff demonstrates her individual standing to bring

   25 a claim, the standing inquiry is concluded and the court proceeds to consider whether

   26 the Rule 23(a) prerequisites for class certification have been met.” Melendres v.
   27

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    1 Arpaio, 784 F.3d 1254, 1262 (9th Cir. 2015), cert. denied, 136 S. Ct. 799 (2016).

    2 Here, Plaintiffs have Article III standing. A court’s Article III jurisdiction:

    3
                         only extends to cases in which the plaintiff demonstrates that
                         “(1) it has suffered an ‘injury in fact’ that is (a) concrete and
    4                    particularized and (b) actual or imminent, not conjectural or
    5                    hypothetical; (2) the injury is fairly traceable to the challenged
                         action of the defendant; and (3) it is likely, as opposed to
    6                    merely speculative, that their injury will be redressed by a
    7                    favorable decision.”
        Madenlian v. Flax USA, Inc., No. 13-civ-01748, 2014 U.S. Dist. LEXIS 181473 at
    8
        *16 (C.D. Cal. Mar. 31, 2014) (quoting Friends of the Earth, Inc. v. Laidlaw Envtl.
    9
        Servs., Inc., 528 U.S. 167, 180-81 (2000)). The threshold for pleading Article III
   10
        standing is not a high one. “It is well settled that ‘general factual allegations of injury
   11
        resulting from the defendant’s conduct may suffice at the pleading stage.’ ” In re
   12
        Toyota Motor Corp., 790 F.Supp.2d 1152, 1162 (C.D. Cal. 2011) (quoting Lujan v.
   13
        Defenders of Wildlife, 504 U.S. 555, 560 (1992)).
   14
              In this case, Plaintiffs have asserted more than only “general allegations.”
   15
        Plaintiffs have alleged an economic loss by purchasing Defendant’s soap at a premium
   16
        in reliance on the label which stated that it the soap is “Natural.” FAC ¶¶ 3, 27, 34,
   17
        37. Accordingly, Plaintiffs have adequately pleaded Article III standing.
   18
              The question of whether Plaintiffs may represent consumers in other states is a
   19
        different one. Plaintiffs are not seeking to apply the laws of other states to their
   20
        individual claims. Rather, they seek to represent those absent class members who do.
   21
        In asking the Court to dismiss claims brought under the laws in states in which
   22
        Plaintiffs do not live, Defendant is really asking the Court to rule on whether Plaintiffs
   23
        may represent a national, or even multistate, class. That question is appropriately
   24
        addressed at the class certification stage, not the pleading stage.
   25
              In support of its argument, Midway cites Mazza v. American Honda Motor Co.,
   26
        666 F.3d 581 (9th Cir. 2012) (Def. Mem. at 11). In the Mazza case, the Ninth Circuit
   27
        reversed the district court’s certification of a nationwide class based on its finding that
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    1 California’s choice of law rules, applied specifically to the facts at issue, mandated

    2 application of the laws of the states in which the purchases occurred. However, the

    3 district court made its ruling at the class certification stage after an extensive record

    4 was created, and the Ninth Circuit took care to limit its reversal to “the facts and

    5 circumstances of this case.” Id. at 594.                   The Court also explicitly left open the
    6 possibility of considering subclasses “with different jury instructions for materially

    7 different bodies of state law.”1 Accordingly, “[u]ntil the Parties have explored the

    8 facts in this case, it would be premature to speculate about whether the differences in

    9 various states' consumer protection laws are material in this case.” Forcellati v.

   10 Hyland's, Inc., 876 F.Supp.2d 1155, 1159 (C.D. Cal. 2012).

   11         For these reasons, most California federal courts do not apply Mazza’s fact-
   12 specific class certification ruling to allegations at the pleading stage. See Fonseca v.

   13 Goya Foods, Inc., No. 16-civ-02559, 2016 U.S. Dist. LEXIS 121716, at *8 (N.D. Cal.

   14 Sep. 8, 2016) (“This Court has consistently declined to apply Mazza at the motion to

   15 dismiss stage to strike nationwide class allegations.”); Werdebaugh v. Blue Diamonds

   16 Growers, No. 12-civ-02724, 2013 U.S. Dist. LEXIS 144178 at *56 n.9 (N.D. Cal.

   17 Oct. 2, 2013) (stating that “[t]his conclusion accords with the Court’s conclusion in

   18 [Brazil], as well as the conclusions of numerous other courts within the Ninth Circuit,
   19 which have declined, even after Mazza, to conduct the choice of law analysis at the

   20 pleading stage”, and citing cases); Forcellati at 1159 (“Courts rarely undertake

   21 choice-of-law analysis to strike class claims at this early stage in litigation.”).

   22

   23

   24         Midway also cites this Court’s decision in Harris v. CVS Pharmacy, No. ED
              1

   25 CV 13-02329, No. 13-02329, 2015 U.S. Dist. LEXIS 104101 (C.D. Cal. Aug. 6,
      2015) in support of its argument. Def. Mem. at 10. However, unlike in Harris,
   26 Plaintiffs are not seeking to apply out of state law to their claims, only to represent
   27 similarly situated consumers. This issue is more appropriately addressed in the
      context of class certification.
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    1        Accordingly, the weight of authority in California federal courts favors waiting
    2 until class certification to undertake a choice of law analysis. See, e.g., Barber v.

    3 Johnson & Johnson Co., No. 8:16-civ-1954, 2017 U.S. Dist. LEXIS 53591 at *26

    4 (C.D. Cal. Apr. 4, 2017) (deferring choice of law analysis until discovery taken);

    5 Hoffman v. Fifth Generation, Inc., No. 3:2014-civ-02569, 2015 U.S. Dist. LEXIS

    6 65398 at *25 (S.D. Cal. Mar. 18, 2015) (declining to strike national class allegations

    7 and noting a thorough choice of law analysis must be undertaken before determining

    8 whether a national class can be certified); Rhinerson v. Van's Int'l Foods, Inc., No. 13-

    9 civ-05923, 2014 U.S. Dist. LEXIS 90471 at *2 (N.D. Cal. July 2, 2014) (“[S]triking

   10 the class allegations at the pleading stage would be premature”); Czuchaj v. Conair

   11 Corp., No. 13-civ-1901, 2014 U.S. Dist. LEXIS 54410 at *18-25 (S.D. Cal. Apr. 16,

   12 2014) (finding choice of law analysis premature at pleading stage and declining to

   13 dismiss national class claims); Swearingen v. Yucatan Foods, L.P., 24 F. Supp. 3d

   14 889 (N.D. Cal. Feb. 7, 2014) (propriety of national class question “not appropriate at

   15 pleading stage”); Werdebaugh v. Blue Diamonds Growers, No. 12-civ-02724, 2013

   16 U.S. Dist. LEXIS 144178 at *55-56 (N.D. Cal. Oct. 2, 2013) (declining to strike

   17 national class claims at the pleading stage because choice of law determination should

   18 wait until class certification stage); Brazil v. Dole Food Co., No. 12-civ-01831, 2013
   19 U.S. Dist. LEXIS 136921, at *40 (N.D. Cal. Sep. 23, 2013) (concluding that striking

   20 class allegations at pleading stage would be “premature”); Grodzitsky v. Am. Honda

   21 24 Motor Co., No. 2:12-civ-1142, 2013 U.S. Dist. LEXIS 33387 at *32-33 C.D. Cal.

   22 Feb. 19, 2013) (denying motion to strike nationwide class allegations where discovery

   23 had not yet commenced).

   24

   25

   26
   27

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    1                 3.       This Court has Specific Personal Jurisdiction Over the
    2                 Claims of Non-Resident Class Members
    3        Midway argues that this Court lacks personal jurisdiction2 over it for the claims
    4 of non-California residents. The U.S. Supreme Court addressed this issue in Bristol-

    5 Myers Squibb Co., v. Superior Court of California, San Francisco, 582 U.S. ___, 137

    6 S. Ct. 1773 (2017) in the context of mass torts in state court, but left the jurisdictional

    7 issue open with respect to class actions, id. at 1789 n.4 (Sotomayor, J. dissenting),

    8 and with respect to federal court as opposed to state court, id. at 1783-84. Since

    9 Bristol-Myers, most courts have held that its limitations on state court jurisdiction

   10 over the mass tort claims of nonresidents do not apply to class actions. See In re

   11 Chinese-Manufactured Drywall Products Liability Litigation, MDL No. 09-2047,

   12 2017 U.S. Dist. LEXIS 197612 (E.D. La. Nov. 30, 2017); Sloan v. General Motors,

   13 LLC., No. 16-cv-07244, 287 F. Supp. 3d 840, 861 (C.D. Cal. Feb 7, 2018) (citing

   14 Chinese Drywall and concluding that Bristol-Myers does not apply to federal class

   15 actions); Casso's Wellness Store & Gym, L.L.C. v. Spectrum Lab. Prods., No. 17-

   16 2161, 2018 U.S. Dist. LEXIS 43974 *13 (E.D. La. March 19, 2018) (citing Chinese

   17 Drywall and concluding that “The court finds that the material differences between

   18 mass tort actions and class actions further support the finding that Bristol-Myers is
   19 inapplicable to the instant case, a purported class action invoking federal question

   20 subject matter jurisdiction.”); Tickling Keys, Inc. v. Transamerica Fin. Advisors, Inc.,

   21 No. 6:17-cv-1734, 2018 U.S. Dist. LEXIS 79578 * 15 (M.D. Fla. Apr. 4, 2018) (citing

   22 Chinese Drywall and declining to apply Bristol-Myers in the class-action context);

   23 Alvarez v. NBTY, Inc., No. 17-cv-00567, 2017 U.S. Dist. LEXIS 201159 (S.D. Cal.

   24 Dec. 6, 2017) (holding that Bristol-Myers did not change the law with regard to

   25 personal jurisdiction over named plaintiffs and noting that Bristol-Myers was a state

   26 mass tort rather than a federal class action); Day v. Air Methods Corp., No. 5:17-183,
   27
             2
                 Plaintiffs do not argue that the Court has general jurisdiction over Midway.
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    1 2017 U.S. Dist. LEXIS 174693 (E.D. Ky. Oct. 23, 2017) (declining to extend Bristol-

    2 Myers to a wage and hour class action suit because “the inquiry for personal

    3 jurisdiction lies with the named parties of the suit asserting their various claims

    4 against the defendant, not the unnamed proposed class members.”); Harrison v.

    5 General Motors Company, No. 17- 3128 (W.D. Mo. Sept. 25, 2017) (“the Court finds

    6 no language in Bristol-Myers requiring or even compelling extension of the holding

    7 to class actions . . . it is unclear whether Bristol-Myers even applies to federal courts”);

    8 Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc., No. 17-cv-00564, 2017 U.S.

    9 Dist. LEXIS 155654 * 15 (N.D. Cal. Sep. 22, 2017) (“[T]he Supreme Court did not

   10 extend its reasoning to bar the nonresident plaintiffs' claims here, and Bristol-Myers

   11 is meaningfully distinguishable based on that case concerning a mass tort action, in

   12 which each plaintiff was a named plaintiff.”).

   13         With respect to class actions, the key to the Chinese Drywall court’s analysis,
   14 which was adopted by the other courts, was its examination of the two major

   15 differences between mass torts and class actions. First, the court noted that “[i]n a

   16 mass tort action, like the one in [Bristol-Myers], each plaintiff was a real party in

   17 interest to the complaints, meaning that they were named as plaintiffs in the

   18 complaints. A class action, on the other hand, generally involves one or more
   19 plaintiffs who seek to represent the rest of the similarly situated plaintiffs.” Second,

   20 the court noted that class actions are subject to additional due process safeguards

   21 which mass torts are not, namely the rigorous requirements for certification under

   22 Rule 23. Id. at *37.

   23         With respect to application in federal court, since the Supreme Court expressly
   24 “le[ft] open the question whether the Fifth Amendment imposes the same restrictions

   25 on the exercise of personal jurisdiction by a federal court,” Bristol-Myers at 1783-84,

   26 courts have hesitated to apply the reasoning of Bristol-Myers to federal court because
   27 the concerns about state sovereignty which animated Bristol-Myers are not present in

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    1 federal court. As the Supreme Court explained, “restrictions on personal jurisdiction

    2 are more than a guarantee of immunity from inconvenient or distant litigation. They

    3 are a consequence of territorial limitations on the power of the respective States.”

    4 Bristol-Myers at 1780 (internal quotations omitted).

    5         Such federalism concerns are inapplicable in state court. See, e.g., Pinker v.
    6 Roche Holdings Ltd., 292 F.3d 361, 369 (3d Cir. 2002) (“a federal court sits as a

    7 unit of the national government and, therefore, the territorial limitations that apply

    8 to the exercise of state court jurisdiction…are inapposite.”); Mut. Int’l Exp. Co. v.

    9 Napco Indus., Inc., 316 F.2d 393, 395 n.8 (D.C. Cir. 1963) (“Constitutionally,

   10 federal courts, because of their national character, are not inhibited in exercising

   11 their jurisdiction by state territorial limitations.”) (citing Hanson v. Denckla, 357

   12 U.S. 235, 251 (1958)). Courts have declined to extend Bristol-Myers to federal

   13 cases based on this distinction. See Chinese Drywall, 2017 U.S. Dist. LEXIS

   14 197612, * 55-56 (“In this case, federalism concerns do not apply. BMS is about

   15 limiting a state court's jurisdiction when it tried to reach out-of-state defendants on

   16 behalf of out-of-state plaintiffs in a mass action suit. That scenario is inapplicable to

   17 nationwide class actions in federal court . . .”); Harrison v. General Motors

   18 Company, No. 17- 3128, at 12 (W.D. Mo. Sept. 25, 2017) (“Bristol-Myers
   19 concerned the due process limits of specific jurisdiction by a State”); Sloan v. GM,

   20 LLC, 287 F. Supp. 3d 840, 858 (N.D. Cal. Feb. 7, 2018) (“In contrast to Bristol-

   21 Myers, the due process right does not obtain here in the same manner because all

   22 federal courts, regardless of where they sit, represent the same federal sovereign, not

   23 the sovereignty of a foreign state government.”). Accordingly, this Court has

   24 personal jurisdiction over Midway for the claims of Mr. Rivera and other consumers

   25 outside California.

   26                  4.      Plaintiffs Have Standing to Sue for Injunctive Relief
   27             Midway argues that Plaintiffs lack standing to pursue injunctive relief
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    1 because Plaintiffs now know the truth about the Products and can no longer be

    2 deceived by the labeling. Def. Mem. at 11-12. The Ninth Circuit squarely

    3 addressed this issue and resolved it in Plaintiffs’ favor last year:

    4

    5
                  We hold that a previously deceived consumer may have standing to seek an
                  injunction against false advertising or labeling, even though the consumer
    6             now knows or suspects that the advertising was false at the time of the
    7             original purchase, because the consumer may suffer an "actual and
                  imminent, not conjectural or hypothetical" threat of future harm.
    8
        Davidson v. Kimberly-Clark Corp., 873 F.3d 1103, 1115 (9th Cir. 2017). The Ninth
    9
        Circuit reasoned that “Knowledge that the advertisement or label was false in the
   10
        past does not equate to knowledge that it will remain false in the future. In some
   11
        cases, the threat of future harm may be the consumer's plausible allegations that she
   12
        will be unable to rely on the product's advertising or labeling in the future, and so
   13
        will not purchase the product although she would like to.”
   14
                  That is exactly the posture in which Plaintiffs find themselves with respect
   15
        to Defendant’s products. Plaintiffs have alleged that they would like to purchase the
   16
        soaps again in the future, but will not because they cannot rely on Midway’s
   17
        representations that the soaps are natural. FAC ¶¶ 9,11,13.
   18
                  Courts in the Ninth Circuit have consistently held that such an allegation is
   19
        sufficient to seek injunctive relief from future harm. Lanovaz v. Twinings N. Am.,
   20
        Inc., No. C-12-02646-RMW, 2014 U.S. Dist. LEXIS 1639, *10 (N.D. Cal. Jan 6,
   21
        2014) (rejecting defendant’s argument that plaintiff could not establish a significant
   22
        possibility of future harm because she stopped buying ice tea products falsely
   23
        labeled as having "Natural Source of Antioxidants"); Ries v. Arizona Beverages, 287
   24
        F.R.D. 523, 533 (N.D. Cal. 2012) (holding that plaintiffs continue to be injured by
   25
        misleading “natural” labels because they cannot rely on the accuracy of labels
   26
        whenever they go to the store, and permitting plaintiff to seek injunctive relief); see
   27
        also Koehler v. Litehouse, Inc., No. CV 12-04055 SI, 2012 U.S. Dist. LEXIS
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    1 176971, *16-17 (N.D. Cal. Dec. 13, 2012) (holding that plaintiff had standing to

    2 seek injunctive relief against misleading salad dressing labels because “To do

    3 otherwise would eviscerate the intent of the California legislature in creating

    4 consumer protection statutes because it would effectively bar any consumer who

    5 avoids the offending product from seeking injunctive relief.”).

    6            In a footnote where Midway acknowledges the existence of the Davidson
    7 decision, Def. Mem. at 12 n.2, Midway argues that Plaintiffs’ claims do not fall

    8 within the logic of Davidson because Plaintiffs could determine the truth or falsity

    9 of future representations just by looking at the ingredients. First, this argument has

   10 been thoroughly rejected because reasonable consumers are not expected to scour a

   11 label to ensure that product representations are not false. See Williams v. Gerber

   12 Prods. Co., 552 F.3d 934, 939 (9th Cir. 2008); ("We do not think that the FDA

   13 requires an ingredient list so that manufacturers can mislead consumers and then

   14 rely on the ingredient list to correct those misinterpretations and provide a shield for

   15 liability for the deception."). Consumers are not required to travel with a list of

   16 synthetic substances to double check whether an ingredient is natural. Second, this

   17 argument this case is not about misrepresentations in the ingredients lists. It is about

   18 characterizing those ingredients as “natural” when no reasonable consumer would
   19 consider them as such.

   20            Accordingly, Plaintiffs have standing to seek injunctive relief.
   21                 5.      The Court Has Jurisdiction Over Plaintiffs’ Magnuson-Moss
   22                 Claims
   23        Midway argues that Plaintiffs have not met the jurisdictional requirements of
   24 the MMWA, including the requirements that individual claims must exceed $25,

   25 products must cost more than $5, and there must be over 100 plaintiffs. Def. Mem.

   26 at 20-21. However, since jurisdiction is conferred separately and independently by
   27 the Class Action Fairness Act, FAC ¶ 5, Plaintiffs do not need to satisfy those

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    1 requirements. “Consistent with every Court of Appeals to address the issue and the

    2 vast majority of district courts…where the jurisdictional prerequisites of CAFA are

    3 satisfied, [a court] may exercise subject-matter jurisdiction over a claim under the

    4 MMWA without regard for whether the jurisdictional prerequisites of that statute are

    5 also met.” Weisblum at 295; see also Keegan v. Am. Honda Motor Co, 838 F. Supp.

    6 2d 929, 954, (C.D. Cal. Jan 6, 2012) (collecting cases concluding that the

    7 jurisdictional requirements of MMWA are satisfied when plaintiffs properly invoke

    8 jurisdiction under CAFA). See also Harris at 22-23 (Birotte, J.) (acknowledging

    9 CAFA as alternative jurisdictional ground over MMWA claims).

   10                   B.    Plaintiffs Have Adequately Pleaded Their Causes of Action
   11        Midway also attacks Plaintiffs’ causes of action on substantive grounds. Its
   12 main argument is that the “Natural soap” representation on the package is not

   13 actionable because it cannot be taken literally and no reasonable consumer, as a

   14 matter of law, would be misled into believing that “Natural soap” means that the

   15 product is free of synthetic ingredients.

   16        However, the overwhelming majority of courts in California and New York
   17 which have faced the issue of an alleged “natural” misrepresentation on a personal

   18 care or food product have found that what a reasonable consumer would believe
   19 cannot be decided at the pleading stage.

   20        In evaluating Defendants’ motion to dismiss under Rule 12(b)(6), the Court
   21 must accept Plaintiffs’ “well-pleaded factual allegations” as true and draw all

   22 reasonable inferences in the Plaintiffs’ favor. Ashcroft v. Iqbal, 556 U.S. 662, 679

   23 (2009). While the complaint need not contain “detailed factual allegations,” Bell

   24 Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), the allegations must “state a

   25 claim to relief that is plausible on its face.” Id. at 570. A claim “has facial

   26 plausibility when the plaintiff pleads factual content that allows the court to draw
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    1 the reasonable inference that the defendant is liable for the misconduct alleged.”

    2 Iqbal, 556 U.S. at 678.

    3                 1.      What a Reasonable Consumer Would Believe Cannot be
    4                 Decided at the Pleading Stage
    5        Midway argues that no reasonable consumer could possibly believe that a
    6 package labeled “Natural Soap” could contain soap that is composed of natural, i.e.,

    7 nonsynthetic, ingredients. Def. Mem. at 14-17. But such arguments are soundly

    8 rejected under both California and New York consumer statutes because these issues

    9 are not suited for disposition on a 12(b)(6) motion. See Astiana v. Hain Celestial

   10 Grp., Inc., No. 12-17596, 2015 U.S. App. LEXIS 5833, at *10-11 (9th Cir. Apr. 10,

   11 2015) (reversing a district court decision to dismiss a consumer fraud action against a

   12 manufacturer for its personal care products that claimed to be “all natural” or “pure

   13 natural”); Vicuna v. Alexia Foods, Inc., No. 11-civ-6119, 2012 U.S. Dist. LEXIS

   14 59408 at * 5 (N.D. Cal. Apr. 27, 2012) (meaning of term “All Natural” to reasonable

   15 consumer cannot be decided on motion to dismiss); Morales v. Unilever U.S., Inc.,

   16 CIV. 2:13-2213, 2014 U.S. Dist. LEXIS 49336 at *27 (E.D. Cal. Apr. 9, 2014)

   17 (denying motion to dismiss claims involving shampoos and conditioners labeled

   18 “naturals”); Fagan v. Neutrogena Corp., Civ. No. 5:13–1316, 2014 U.S. Dist. LEXIS
   19 2795 at *6 (C.D. Cal. Jan. 8, 2014) (denying motion to dismiss when defendant

   20 claimed that its sunscreen was “100% naturally sourced”); Brown v. Hain Celestial

   21 Grp., Inc., 913 F. Supp. 2d 881, 899 (N.D. Cal. 2012) (denying motion to dismiss

   22 challenge to face and body products labeled pure, natural and organic); Buonasera v.

   23 Honest Co., Inc., 208 F. Supp. 3d 555, 566 (S.D.N.Y. 2016) (denying motion to

   24 dismiss New York consumer claims related to misleading “natural”, “naturally

   25 derived”, and other labels because “whether Honest’s products are misleading to a

   26 reasonable consumer is a question of fact better suited for the jury”); Hidalgo v.
   27 Johnson & Johnson Consumer Cos., Inc., 148 F. Supp. 3d 285, 295 (S.D.N.Y. 2015)

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    1 ("[U]sually [the reasonable consumer] determination is a question of fact.") (quoting

    2 Goldemberg v. Johnson & Johnson Consumer Cos., 8 F. Supp. 3d 467, 478 (S.D.N.Y.

    3 2014)); Segedie at *30 (S.D.N.Y. May 7, 2015) (same, regarding “natural” label);

    4                 2.      Plaintiffs’ Misrepresentation Claims Should Be Upheld
    5        In any event, allegations that a “natural” labeled product is not natural is
    6 sufficient to state a claim under California and New York law. And contrary to

    7 Midway’s argument, avoiding phrases such “100% natural” or “all natural” do not

    8 insulate it from liability. Def. Mem. at 17. For example, under California law, see:

    9 Brenner v. Proctor & Gamble Co., No. 15-civ-1093, 2016 U.S. Dist. LEXIS 187303

   10 at *18 (C.D. Cal. Oct. 20, 2016) (denying motion to dismiss “natural”

   11 misrepresentations claims under California law because there is not “a bright-line rule

   12 holding that “natural” claims without “100%” or “all” can never be actionable”);

   13 Morales v. Unilever United States, Inc., No. 2:13-2213, 2014 U.S. Dist. LEXIS

   14 49336, *22-23, (E.D. Cal. Apr. 9, 2014) (“Despite defendant's contention that a

   15 cosmetic product cannot be natural, numerous courts have denied motions to dismiss

   16 claims alleging that cosmetic products were falsely labeled as ‘natural’); Janney v.

   17 Gen’l Mills, No. 12-civ-03919, 2014 U.S. Dist. LEXIS 41452 at *9 (N.D. Cal. Mar.

   18 26, 2014) (claim stated where plaintiff alleged “natural” product continued high
   19 fructose corn syrup, high maltose corn syrup and maltodextrin); Aguiar v. Merisant

   20 Co., No. 14-civ-00670, 2014 U.S. Dist. LEXIS 165301 at *10 (C.D. Cal. March 24,

   21 2014) (finding that allegations that ingredients isomaltulose and dextrose were

   22 “synthetic” as term used in dictionary required “no further factual enhancements” to

   23 state claim); Jou v. Kimberly-Clark Corp., 13-civ-03075, 2013 U.S. Dist. LEXIS

   24 173216 at *5-8 (N.D. Cal. Dec. 10, 2013) (claim stated where plaintiff alleged "pure

   25 & natural” product contained polypropylene and sodium polyacrylate); Brown v.

   26 Hain Celestial Grp., 913 F. Supp. 2d 881, 898 (N.D. Cal. 2012) (denying motion to
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    1 dismiss when defendant claimed that various cosmetic products were "pure, natural,

    2 and organic").

    3        With respect to courts which have denied similar motions under New York’s
    4 GBL 349, see: Sitt v. Nature’s Bounty, Inc., No. 15-civ-4199, 2016 U.S. Dist. LEXIS

    5 131564 at *26-40 (E.D.N.Y. Sept. 26, 2016) (denying motion to dismiss GBL claims

    6 based misleading “Natural Whole Herb” and “Natural Menopausal Relief” labels);

    7  Silva v. Smucker Natural Foods, Inc., 2015 U.S. Dist. LEXIS 122186 (E.D.N.Y. Sept.

    8 14, 2015) (rejecting defendant’s argument that, as a matter of law, no reasonable

    9 consumer could be similarly misled by the term “natural” into thinking that the

   10 products were exclusively natural); Segedie v. Hain Celestial Grp., Inc., No. 14-civ-

   11 5029 (NSR), 2015 U.S. Dist. LEXIS 60739 at *30 (S.D.N.Y. May 7, 2015) (“[I]t is

   12 enough that Plaintiffs allege that “natural” communicates the absence of synthetic

   13 ingredients.”); Goldemberg v. Johnson & Johnson Consumer Cos., 2014 U.S. Dist.

   14 LEXIS 47180, *27 (S.D.N.Y Mar. 27, 2014) (“[we] cannot find as a matter of law

   15 that no reasonable consumer could be misled by [the term ‘Active Naturals’] into

   16 believing the products contain exclusively natural ingredients.”).

   17        In contrast, case law supporting Midway’s position is relatively sparse and
   18 involves fact patterns that are extreme. For example, Defendant cites Pelayo v Nestle
   19 USA, Inc., 989 F. Supp. 2d 973 (C.D. Cal. 2013) in support of its argument that no

   20 reasonable consumer would expect the soap to be natural just because the package

   21 said so. Def. Mem. at 17. Pelayo’s conclusion comports with Midway’s argument

   22 here, but Pelayo has been rejected by other courts. See, e.g., Jou v. Kimberly-Clark

   23 Corp., No. No.:C-13-03075, 2013 U.S. Dist. LEXIS 173216, *31-32 (N.D. Cal. Dec.

   24 10, 2013) (holding that Pelayo “is at odds with basic logic, contradicts the FTC

   25 statement on which it relies, and appears in conflict with the holdings of many other

   26 courts, including the Ninth Circuit. This Court accordingly declines to follow
   27 Pelayo’s holding.”).         See also Segedie at *30-31(S.D.N.Y. 2015) (distinguishing
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    1 Pelayo and holding that “it is enough that Plaintiffs allege that ‘natural’ communicates

    2 the absence of synthetic ingredients. Ultimately, the question is one of reasonableness,

    3 which cannot be resolved on a Rule 12(b) (6) motion.”).

    4         Midway’s other cases, Barrett v. Milwaukee Elec. Tool, Inc., No. 14-1804 JAH,
    5 2016 U.S. Dist. LEXIS 122688, *15-16 (S.D. Cal. Jan 26, 2016) and In re 100%

    6 Parmesan Cheese Mktg & Sales Practices Litig. 275 F. Supp. 3d 910, 923 (N.D. Ill.

    7 2017) (Def. Mem. at 17) do not involve “natural” representations and offer little

    8 assistance.

    9         In sum, the great majority of courts have found that allegations similar to those
   10 of the Plaintiffs’ are sufficient to state a claim.

   11                  3.      Plaintiffs State a Claim Against Midway
   12         Midway argues that it should escape liability for the misrepresentations on the
   13 box since it did not package the products itself. Def. Mem. at 13. The complaint,

   14 however, alleges that Midway was involved in the advertising and marketing of the

   15 Products, quoting Defendant’s own website which touts “a support strategy that

   16 includes marketing & promotions.” FAC ¶ 16. At the motion to dismiss stage, this

   17 allegation is sufficient to state a claim against Midway.

   18         Even in the event that Midway did not produce the packaging for the
   19 Products, that is not a requirement. New York’s GBL § 349 is a broad statute:

   20 “Deceptive acts or practices in the conduct of any business, trade or commerce …in

   21 this state are hereby declared unlawful.” Similarly, California’s CLRA covers

   22 “unfair or deceptive acts or practices undertaken by any person in a transaction

   23 intended to result or which results in the sale or lease of goods or services to ant

   24 consumer are unlawful.” Cal. Civ. Code §1770 (a). Plaintiffs have alleged conduct

   25 by Midway that fits within the broad ambit of these statutes.

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    1                  4.      Plaintiffs’ Allegations Satisfy the Requirements of Rule 9(b)
    2         Plaintiffs are not required to meet the heightened pleading requirements of
    3 Rule 9(b). Plaintiffs have alleged that the “Natural” misrepresentations are likely to

    4 deceive a reasonable consumer. FAC ¶ 32. Such allegations do not sound in fraud

    5 without traditional common law fraud elements such as intent. See In re Mattel,

    6 Inc., 588 F.Supp. 2d 1111, 1118 (C.D. Cal. 2008). However, in any case, Plaintiffs’

    7 allegations are sufficient to satisfy Rule 9(b). The Rule 9(b) standard requires the

    8 plaintiff set forth “the who, what, when, where and how of the misconduct charged.”

    9 Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (internal

   10 quotation marks omitted).

   11         In their complaint, Plaintiffs have set forth the details of the misconduct:
   12 Midway (who) (FAC ¶ 14) markets soap as “Natural” when it contains synthetic

   13 ingredients (what) (FAC ¶¶ 2, 18-20) which Plaintiffs purchased during the class

   14 period at retail stores (when, where) (FAC ¶¶ 8-13) and relied on the “natural”

   15 misrepresentation in making their purchases and suffered economic loss as a result

   16 (how) (FAC ¶¶ 3, 27,33).

   17         Courts have held that similar allegations satisfied Rule 9(b)’s heightened
   18 pleading standard. See, e.g., In re ConAgra Foods, Inc., 908 F. Supp. 2d 1090, 1100
   19 (C.D. Cal. 2012) (holding that plaintiff’s claims satisfied the requirements of FRCP

   20 9(b) pleading where plaintiff alleged that the misleading representation appeared on

   21 the labels, that the representation appeared on product labels throughout the class

   22 period, that the plaintiff’s typically viewed the labels in their homes after purchasing

   23 the products, and described plaintiffs' views as to why genetically modified products

   24 cannot be considered "natural."); Frito Lay at *73 (plaintiffs satisfied Rule 9(b)

   25 because they “allege[d] that defendants PepsiCo and Frito-Lay (the ‘who’) falsely

   26 stated that the products are ‘All Natural,‘ but in fact, are not . . . (the ‘what’),” and
   27 further alleged “[w]hen the defendants labeled, and the plaintiffs purchased, the

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    1 products between January 1, 2010 and the present (the ‘when’), the plaintiffs relied

    2 on this representation, which was placed prominently on the products’ packaging

    3 (the ‘where’).” The same level of detail is provided in Plaintiffs’ allegations.

    4                  5.      Plaintiffs Have Stated Claims For Breach Of Express
    5                  Warranty under California and New York Law.
    6         Midway next attacks Plaintiffs’ warranty claims on grounds similar to those
    7 upon which it bases its arguments against Plaintiffs’ statutory claims.                              That is,
    8 Midway downplays the “Natural soap” representations as unimportant. Def. Mem. at

    9 19.

   10         Under California law, “To state a claim for breach of express warranty, a
   11 plaintiff must allege facts sufficient to show that (1) the seller’s statements constitute

   12 an affirmation of fact or promise or a description of the goods; (2) the statement was

   13 part of the basis of the bargain; and (3) the warranty was breached.” Vicuna v. Alexia

   14 Foods, Inc., No. C 11-6119, 2012 U.S. Dist. LEXIS 59408 *5. (N.D. Cal. Apr. 27,

   15 2012). Midway’s “Natural soap” statement is just such an “affirmation of fact.” See

   16 Parker v. J.M. Smucker Co., No. C 13-0690, 2013 U.S. Dist. LEXIS 120374 *20

   17 (N.D. Cal. Aug 23, 2013) (holding that “all natural” was an express warranty and not

   18 mere puffery); Aguiar v. Merisant Co., No. 14-00670-RGK-AGRx, 2014 U.S. Dist.
   19 LEXIS 165301 *21 (C.D. Cal. March 24, 2014) (same); Vicuna at *6 (“All Natural”

   20 designation was a “statement of fact” and constituted express warranty).

   21         Similarly, under New York law, any “affirmation of fact or promise made by
   22 the seller to the buyer which relates to the goods and becomes part of the basis of the

   23 bargain creates an express warranty." Frito-Lay at 84 (holding “natural”

   24 representations was statement of fact”); Ault v J.M Smucker Co., No. 13 Civ. 3409

   25 (PAC), 2014 U.S. Dist. LEXIS 67118 at *20-21(S.D.N.Y. May 15, 2014) (“natural”

   26 representation constitutes “an actionable warranty”). Accordingly, Plaintiffs have
   27 stated a claim for breach of express warranty.

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    1        Midway argues that privity is a requirement for a claim of breach of express
    2 warranty under New York law. But privity is not required where a plaintiff seeks

    3 only economic damages or where a plaintiff challenges public misrepresentations

    4 such as labels on products. See Sitt v. Nature's Bounty, Inc., No. 15-CV-4199, 2016

    5 U.S. Dist. LEXIS 131564 at *52-54 (E.D.N.Y. Sep. 26, 2016) (“New York state

    6 courts and courts in this Circuit have also specifically held that New York law does

    7 not require privity for an express warranty claim where a plaintiff challenges

    8 advertising or sales literature.”); Weisblum at 295 (“[C]ourts have held that a plaintiff

    9 need not be in privity with a defendant to bring [an express warranty] claim based on

   10 misrepresentations contained in public advertising or sales literature”). Both those

   11 circumstances are present here.

   12        First, as acknowledged by the court in Sitt and in Mahoney v. Endo Health
   13 Solutions, Inc., No. 15-CV-9841, 2016 U.S. Dist. LEXIS 94732 (S.D.N.Y. July 20,

   14 2016), the New York Court of Appeals has long since dispensed with the privity

   15 requirement where the plaintiff seeks only economic damages. Mahoney at *16-19

   16 (citing Randy Knitwear, Inc. v. Am. Cyanamid Co., 11 N.Y.2d 5, 16 (1962), Jesmer

   17 v. Retail Magic, Inc., 863 N.Y.S.2d 737, 739 (2d Dep't. 2008) and Murrin v. Ford

   18 Motor Co., 756 N.Y.S.2d 596, 597 (2d Dep't. 2003)). Here, Plaintiffs are only seeking
   19 economic damages. FAC ¶¶ 60, 72, 82, 93, 103, 112, 121, 131, 138.

   20        Second, courts have held that where plaintiff challenges a representation made
   21 by a defendant on a product label or advertisement, the plaintiff need not be in privity

   22 with the defendant. See Goldemberg, 8 F. Supp. 3d at 482 (holding with respect to

   23 natural” label, "A buyer may bring a claim against a manufacturer from whom he did

   24 not purchase a product directly, since an express warranty may include specific

   25 representations made by a manufacturer in its sales brochures or advertisements.”);

   26 Brady at 235 (express warranty claim based on challenge to supplement labels
   27 upheld); Weisblum at 295 (breach of warranty claim based on challenges to

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    1 advertising and product packaging of cold remedy upheld). Similarly, in this case, Mr.

    2 Rivera is challenging representations on the labels of the soap.

    3        Defendants cite Koenig v. Boulder Brands, Inc., 995 F. Supp. 2d 274 (S.D.N.Y.
    4 2014) and DiBartolo v. Abbott Labs., 914 F.Supp.2d 601, 624-25 (S.D.N.Y. 2012) in

    5 support. Def. Mem. at 20. But these cases are outliers and garner little support. See

    6 Weisblum at 295 (declining to follow Koenig); Mahoney at 19 (declining to follow

    7 Koenig); Sitt at 52 (declining to follow Koenig); In re Santa Fe Nat. Tobacco Co.

    8 Mktg. & Sales Practices & Prods. Liab. Litig., No. MD 16-2695, 2017 U.S. Dist.

    9 LEXIS 210549 at *338 (D.N.M. Dec. 21, 2017) (finding “The Court of Appeals of

   10 New York has concluded that privity is not required against a manufacturer or the

   11 advertiser for economic loss” and declining to follow Koenig). Also, the DiBartolo

   12 decision did not base its dismissal of plaintiff’s express warranty claims on a lack of

   13 privity but only stated that “privity is normally an essential element of a cause of

   14 action for express warranty.” Id. at *624 (internal citations and quotations omitted).

   15 Given the weight of authority against this statement, DiBartolo offers little support.

   16                 6.      Plaintiffs Prudencio and Quintero Have Stated Claims for
   17                 Breach of Implied Warranty Under California Law
   18        Plaintiffs Prudencio and Quintero, residents of California, have stated a claim
   19 for a breach of implied warranty under California law. California recognizes the

   20 implied warranty of merchantability in its Commercial Code. Cal. Com. Code

   21 § 2314. The language tracks that of the Uniform Commercial Code, establishing

   22 particular attributes of “merchantable” goods, among them, that they be fit for their

   23 ordinary purposes. Cal. Com. Code § 92314(2)(c); UCC § 2-314. Also required,

   24 however, is that goods are warranted to “conform to the promises or affirmations of

   25 fact on made on the container or label, if any.” Cal. Com. Code § 2314(f), UCC

   26 § 2-314(f). Here, Mr. Prudencio and Ms. Quintero have alleged that the soaps do
   27 not conform with the “promise or affirmation of fact” that the soaps are natural.

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    1 Accordingly, they have stated a claim for breach of implied warranty of

    2 merchantability under California law.

    3        Mr. Rivera, who is a resident of New York, acknowledges that Midway has
    4 the better of the argument on his implied warranty claims under New York law and

    5 withdraws that claim.

    6                 7.      Plaintiffs’ Magnuson-Moss Claims Should Not Be Dismissed
    7        Next, Midway argues that its “Natural soap” label is not a warranty under the
    8 MMWA. While the MMWA provides a federal class action remedy for express and

    9 implied breach of warranty claims, it “merely incorporates and federalizes state-law

   10 breach of warranty claims”. Brady at 234 (citations and quotations marks omitted).

   11        Therefore, “th[e] disposition of [] state law warranty claims determines the
   12 disposition of the Magnuson-Moss Act claims.” Abraham v. Volkswagen of Am., Inc.,

   13 795 F.2d 238, 249 (2d Cir. 1986) (holding that state law governs implied warranty

   14 claims under the MMWA); Sitt at 57 (denying motion to dismiss MMWA claim where

   15 plaintiff stated an express warranty claim).                      Since Midway’s representations
   16 constitute an express warranty under California and New York law, they also

   17 constitute one under the MMWA.

   18        Further, and separately, Plaintiffs’ Magnuson-Moss claims with respect to state
   19 law implied warranties should not be dismissed. The statutory definition of an implied

   20 warranty under the Magnuson-Moss Act is broader than that of an express warranty.

   21 Compare 15 U.S.C. § 2301(6) (express warranty must promise “specified level of

   22 performance over a specified period of time”) with 15 U.S.C. § 2301(7) (implied

   23 warranty requires “sale by a supplier of a consumer product”).                                Accordingly,
   24 Plaintiffs’ Magnuson-Moss claims based on implied warranties will “stand or fall”

   25 with Plaintiffs’ state law implied warranty claims. Clemens v. DaimerChrysler Corp.,

   26 534 F.3d 1017, 1022 (9th Cir. 2008). Since Plaintiffs Prudencio and Quintero have
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    1 adequately pleaded their implied warranty claims, their Magnuson-Moss claims

    2 should not be dismissed.

    3                    C.    Plaintiff’s Claims Should Not be Stayed
    4         Midway’s argument that the case should be stayed and deferred to the primary
    5 jurisdiction of the FDA, Def. Mem. at 22, should be rejected for two reasons.                            First,
    6 the anticipated FDA guidance on the term “natural” is limited to food products. It

    7 does not include personal care products like soap.                        Second, a determination on
    8 whether a reasonable consumer would consider a product “natural” if it contains

    9 titanium dioxide or sodium lauryl sulfate is an issue “within the conventional

   10 experience of judges” and does not require FDA expertise.

   11         Since this case involves soap, it does not warrant application of the primary
   12 jurisdiction doctrine. For example, the court in Petrosino found that (“[T]he FDA’s

   13 definition of ‘natural’ with regards to human food products would not be particularly

   14 helpful. As instructive as that definition may be, it ultimately involves a significantly

   15 different subject matter, namely, food products instead of cosmetics.”). Id. at *30.

   16         Additionally, the FDA has explicitly and affirmatively declined to make a
   17 determination regarding the term “natural” in cosmetic or personal care labeling, and

   18 thus a stay would be unwarranted and inappropriate. Astiana v. Hain Celestial Grp.,
   19 Inc., No. 11-civ-6342, 2015 U.S. Dist. LEXIS 138496, *2 (N.D. Cal. Oct. 9, 2015),

   20 (ruling that a letter by the FDA explicitly shows that the “agency is aware of but has

   21 expressed no interest in the subject matter of the litigation” (i.e., “natural” within the

   22 context of cosmetic labeling). Accordingly, there is no basis for a stay.

   23      Next, contrary to Defendant’s argument, Def. Mem. at 23, resolution of the issues
   24 in this case do not require the FDA’s expertise. The primary jurisdiction doctrine “is

   25 not designed to secure expert advice from agencies every time a court is presented

   26 with an issue conceivably within the agency’s ambit.” Clark v. Time Warner Cable,
   27 523 F.3d 1110, 1114 (9th Cir. 2008)). Here, “‘[t]his case is far less about science than

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    1 it is about whether a label is misleading,’ and the reasonable-consumer inquiry upon

    2 which some of the claims in this case depend is one to which courts are eminently

    3 well suited, even well versed.” Jones v. ConAgra Foods, Inc., 912 F. Supp. 2d 889,

    4 898 (N.D. Cal. 2012). Therefore, “[d]etermining whether a reasonable consumer

    5 acting reasonably would find the term ‘natural’ deceptive when a product contains

    6 both natural and synthetic ingredients is a question this Court and Jury are well suited

    7 to entertain.” Petrosino, 2018 U.S. Dist. LEXIS 55818, at *29; Garcia v. Kashi, Co.,

    8 43 F. Supp. 3d 1359, 1380 (S.D. Fla. 2014) (holding that determination of whether

    9 defendants’ “all natural” and “nothing artificial” representations on their products’

   10 labeling are misleading “is not a technical area in which the FDA has greater technical

   11 expertise than the courts—as every day courts decide whether conduct is

   12 misleading.”).

   13              D. LEAVE TO AMEND REQUESTED
   14        Should the Court grant Defendant’s motion, Plaintiffs request leave to amend
   15 to cure any pleading deficiencies. See, e.g. Jackson v. Carey, 353 F.3d 750, 758 (9th

   16 Cir. 2003) (“Dismissal without leave to amend is appropriate only when the Court is

   17 satisfied that the deficiencies in the complaint could not possibly be cured by

   18 amendment.”).
   19                   III. CONCLUSION
   20        For the reasons stated above, Defendant’s motion should be denied in its
   21 entirety.

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        Dated:         June 21, 2018

    2                                                       Respectfully Submitted,
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                                          Local Rule 5-4.3.4 Certification
   20
                    I hereby attest that all other signatories listed, on whose behalf this filing is
   21
           submitted, concur in the filing’s content and have authorized this filing.
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                                                                                             /s/
   23
                                                                                    David R. Shoop
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          Memorandum of Law in Opposition to Defendant Midway Importing, Inc.’s Motion to Dismiss Plaintiffs’ First
                                                  Amended Complaint
